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                      EXHIBIT A
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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH BEACH DIVISION

                                     Case No: 9:16-CV-81871-KAM

   LAN LI, an individual, et al.,

          Plaintiffs,
   v.

   JOSEPH WALSH, an individual, et al.,

          Defendants.

   ________________________________/

              EVANS DEFENDANTS’ RESPONSES TO PLAINTIFFS’ REQUESTS FOR
                       PRODUCTION OF DOCUMENTS DATED 1/11/17
              Defendants, LESLIE ROBERT EVANS and LESLIE ROBERT EVANS & ASSOCIATES,

   P.A., (sometimes collectively referred to as “The Evans Defendants”), by and through undersigned

   counsel, respond to Plaintiffs’ Request for Production of Documents served January 11, 2017, as

   follows:

                                    RESPONSES TO REQUEST FOR DOCUMENTS

              1.    All books and records of Palm House Hotel LLLP, including but not limited to

    balance sheets, cash flow statements, financial statements, bank account records, and accounting

    records starting from 2013 until the present.

                    RESPONSE: The Evans Defendants do not have any responsive documents in
                    their possession, custody or control.

              2.    All tax returns and related schedules filed by Palm House Hotel LLLP since 2013.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.

              3.    All books and records of South Atlantic Regional Center, LLC, the purported

    general partner of Palm House Hotel LLLP, related to the Palm House Hotel EB-5 project,
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    including but not limited to balance sheets, cash flow statements, financial statements, bank

    account records, and accounting records starting from 2013 until the present.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.

            4.     All books and records of USREDA, LLC related to the Palm House Hotel EB-5

    project, including but not limited to balance sheets, cash flow statements, financial statements,

    bank account records, and accounting records starting from 2013 until the present.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.

            5.     All books and records of 160 Royal Palm LLC, the owner of the real property

    located at 160 Royal Palm Way, Palm Beach, Florida, upon which the Palm House Hotel is

    located, related to the Palm House Hotel EB-5 project, including but not limited to balance sheets,

    cash flow statements, financial statements, bank account records, and accounting records starting

    from 2013 until the present.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.

           6.      All books and records of Palm House LLC related to the Palm House Hotel EB-5

    project, including but not limited to balance sheets, cash flow statements, financial statements,

    bank account records, and accounting records starting from 2013 until the present.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.

           7.      All books and records of Leslie Robert Evans and Leslie Robert Evans &

    Associates, P.A. relating to the transfer of any funds from or to any other defendant in this action,

    including but not limited to bank account records and internal bookkeeping records.

                   RESPONSE: See attached documents.

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           8.      All books and records of Palm House Hotel LLLP relating to the transfer of any

    assets, including but not limited to money, cash, deposits or any other financial assets.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.

           9.      All correspondence between Palm House Hotel LLLP and one or more of its limited

    partners or any of their agents or attorneys.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.

           10.     All correspondence between South Atlantic Regional Center, LLC or one or more

    of its agents (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand,

    and any Palm House Hotel LLLP limited partner, investor or one or more of their agents, on the

    other hand, related to the Palm House Hotel EB-5 project.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.

           11.     All correspondence between USREDA, LLC or one or more of its agents (including

    but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and any Palm House

    Hotel LLLP limited partner, investor or one or more of their agents, on the other hand, related to

    the Palm House Hotel EB-5 project.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.

           12.     All correspondence between JJW Consultancy Ltd. or one or more of its agents

    (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and any Palm

    House Hotel LLLP limited partner, investor or one or more of their agents, on the other hand,

    related to the Palm House Hotel EB-5 project.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.


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           13.       All correspondence between Ali Herischi or one or more of his agents, on the one

    hand, and any Palm House Hotel LLLP limited partner, investor or one or more of their agents, on

    the other hand, related to the Palm House Hotel EB-5 project.

                     RESPONSE: The Evans Defendants do not have any responsive documents in
                     their possession, custody or control.

           14.       All correspondence between Palm House Hotel LLLP or one or more of its agents

    (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and any other

    defendant, on the other hand, relating to any funds provided by any investor in the Palm House

    Hotel project.

                     RESPONSE: The Evans Defendants do not have any responsive documents in
                     their possession, custody or control.

           15.       All correspondence between South Atlantic Regional Center, LLC or one or more

    of its agents (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand,

    and any other defendant, on the other hand, relating to any funds provided by any investor in the

    Palm House Hotel project.

                     RESPONSE: The Evans Defendants do not have any responsive documents in
                     their possession, custody or control.

           16.       All correspondence between USREDA, LLC or one or more of its agents (including

    but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and any other defendant,

    on the other hand, relating to any funds provided by any investor in the Palm House Hotel project.

                     RESPONSE: The Evans Defendants do not have any responsive documents in
                     their possession, custody or control.

           17.       All correspondence between JJW Consultancy Ltd. or one or more of its agents

    (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and any other

    defendant, on the other hand, relating to any funds provided by any investor in the Palm House
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    Hotel project.

                     RESPONSE: The Evans Defendants do not have any responsive documents in
                     their possession, custody or control.

            18.      All correspondence between Robert Matthews or one or more of his agents, on the

    one hand, and any other defendant, on the other hand, relating to any funds provided by any

    investor in the Palm House Hotel project.

                     RESPONSE: The Evans Defendants do not have any responsive documents in
                     their possession, custody or control.

            19.      All correspondence between Ali Herischi or one or more of his agents, on the one

    hand, and any other defendant, on the other hand, relating to any funds provided by any investor

    in the Palm House Hotel project.

                     RESPONSE: The Evans Defendants do not have any responsive documents in
                     their possession, custody or control.

            20.      All correspondence between Palm House Hotel LLLP or one or more of its agents

    (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and PNC

    Bank, on the other hand, regarding any of Plaintiffs’ funds that were deposited with PNC Bank.

                     RESPONSE: The Evans Defendants do not have any responsive documents in their
                     possession, custody or control.

            21.      All correspondence between South Atlantic Regional Center, LLC or one or more

    of its agents (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand,

    and PNC Bank, on the other hand, regarding any of Plaintiffs’ funds that were deposited with PNC

    Bank.

                     RESPONSE: The Evans Defendants do not have any responsive documents in
                     their possession, custody or control.



            22.      All correspondence between USREDA, LLC or one or more of its agents (including

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    but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and PNC Bank, on the

    other hand, regarding any of Plaintiffs’ funds that were deposited with PNC Bank.

                  RESPONSE: The Evans Defendants do not have any responsive documents in
                  their possession, custody or control.

           23.    All correspondence between JJW Consultancy Ltd. or one or more of its agents

    (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and PNC

    Bank, on the other hand, regarding any of Plaintiffs’ funds that were deposited with PNC Bank.

                  RESPONSE: The Evans Defendants do not have any responsive documents in
                  their possession, custody or control.

           24.    All written instructions that Palm House Hotel LLLP or one or more of its agents

    (including but not limited to Joseph Walsh and Joseph Walsh, Jr.) gave to PNC Bank regarding

    any funds that any Plaintiff deposited into an account with PNC Bank.

                  RESPONSE: The Evans Defendants do not have any responsive documents in
                  their possession, custody or control.

           25.    All written instructions that South Atlantic Regional Center, LLC or one or more

    of its agents (including but not limited to Joseph Walsh and Joseph Walsh, Jr.) gave to PNC Bank

    regarding any funds that any Plaintiff deposited into an account with PNC Bank.

                  RESPONSE: The Evans Defendants do not have any responsive documents in
                  their possession, custody or control.

           26.    All written instructions that USREDA, LLC or one or more of its agents (including

    but not limited to Joseph Walsh and Joseph Walsh, Jr.) gave to PNC Bank regarding any funds

    that any Plaintiff deposited into an account with PNC Bank.

                  RESPONSE: The Evans Defendants do not have any responsive documents in
                  their possession, custody or control.

           27.    All written instructions that JJW Consultancy Ltd. or one or more of its agents

    (including but not limited to Joseph Walsh and Joseph Walsh, Jr.) gave to PNC Bank regarding

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    any funds that any Plaintiff deposited into an account with PNC Bank.

                    RESPONSE: The Evans Defendants do not have any responsive documents in
                    their possession, custody or control.

           28.      Any bank statements or other records reflecting the deposit, withdrawal, transfer,

    use or other disposition of any funds invested by any Plaintiff relating to the Palm House Hotel

    EB-5 project.

                    RESPONSE: The Evans Defendants do not have any responsive documents in
                    their possession, custody or control.

           29.      Any bank statements or other records reflecting the deposit, withdrawal, transfer,

    use or other disposition of any funds deposited by any Plaintiff at PNC Bank relating to the Palm

    House Hotel EB-5 project.

                    RESPONSE: The Evans Defendants do not have any responsive documents in
                    their possession, custody or control.

           30.      Any bank statements or other records reflecting the deposit, withdrawal, transfer,

    use or other disposition of Plaintiffs’ funds that are traced into other accounts and/or financial

    institutions after the funds were moved from the purported escrow account at PNC Bank.

           31.      Records of any action relating in any way to the funds invested by Plaintiffs.

                    RESPONSE: The Evans Defendants do not have any responsive documents in
                    their possession, custody or control.

           32.      The minutes of all Palm House Hotel LLLP partner meetings and records of all

    action taken by the partners for the past 3 years.

                    RESPONSE: The Evans Defendants do not have any responsive documents in
                    their possession, custody or control.

           33.      All written communications sent to all Palm House Hotel LLLP partners within the

    past 3 years, including the financial statements for the past 3 years.

                    RESPONSE: The Evans Defendants do not have any responsive documents in
                    their possession, custody or control.
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           34.        All executed Escrow Agreements relating to Palm House Hotel LLLP and/or

    Plaintiffs’ investment in the Palm House Hotel EB-5 project, on the one hand, and PNC Bank, on

    the other hand.

                      RESPONSE: The Evans Defendants do not have any responsive documents in
                      their possession, custody or control.

           35.     A list of the names, addresses, email addresses, and telephone numbers of the Palm

    House Hotel LLLP current and former general partners, limited partners, managers, and agents.

                   RESPONSE: The Evans Defendants do not have any responsive documents in
                   their possession, custody or control.

           36.     A list of the names, addresses, email addresses, and telephone numbers of the South

    Atlantic Regional Center, LLC current and former members, managers, employees, contractors,

    and agents.

                      RESPONSE: The Evans Defendants do not have any responsive documents in
                      their possession, custody or control.

           37.     A list of the names, addresses, email addresses, and telephone numbers of the

    USREDA, LLC current and former members, managers, employees, contractors, and agents.

                      RESPONSE: The Evans Defendants do not have any responsive documents in
                      their possession, custody or control.

           38.     All correspondence between Palm House Hotel LLLP or one or more of its agents

    (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and USCIS,

    on the other hand, relating to the Palm House Hotel project.

                      RESPONSE: The Evans Defendants do not have any responsive documents in
                      their possession, custody or control.



           39.     All correspondence between South Atlantic Regional Center, LLC or one or more

    of its agents (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand,
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   and USCIS, on the other hand, relating to the Palm House Hotel project.

                  RESPONSE: The Evans Defendants do not have any responsive documents in
                  their possession, custody or control.

          40.     All correspondence between USREDA, LLC or one or more of its agents (including

   but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and USCIS, on the other

   hand, relating to the Palm House Hotel project.

                  RESPONSE: The Evans Defendants do not have any responsive documents in
                  their possession, custody or control.

          41.     All correspondence between JJW Consultancy Ltd. or one or more of its agents

   (including but not limited to Joseph Walsh and Joseph Walsh, Jr.), on the one hand, and USCIS,

   on the other hand, relating to the Palm House Hotel project.

                  RESPONSE: The Evans Defendants do not have any responsive documents in
                  their possession, custody or control.

                                       Respectfully submitted,

                                       LAW OFFICES OF GREGORY R. ELDER, LLC

                                       BY: /s/Gregory R. Elder
                                       Gregory R. Elder, Esq.
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                                       Attorneys for Plaintiffs

                                  CERTIFICATE OF SERVICE
  I HEREBY CERTIFY that on this 17th day of February, 2017, I served the forgoing via email
  to all parties on the attached Service List whose addresses are listed below.


                                               BY: /s/Gregory R. Elder




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                                            SERVICE LIST
                                  Lan Li, et al., v. Joseph Walsh, et al.
                                       Case No. 1:16-cv-81871


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   Palm Beach, FL 33480                               Michael S. Olin, P.A.
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                                                      Wilmington, DE 19808
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                                                      Bonaventure 22, LLC
                                                      c/o Alan Burger, Esq., Registered Agent
                                                      c/o McDonald Hopkins LLC
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   Via EM/ECF                                            Attorney for Ryan Black
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   Hong Kong                                             Hong Kong
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   Joseph Walsh, Jr.                                     Kevin Wright
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   Wilmington, DE 19808
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                                      13


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